   Case: 1:24-cv-00355 Document #: 35 Filed: 03/08/24 Page 1 of 3 PageID #:1356


                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  CRISTA S. FOREST,

           Plaintiff,                                        Case No.: 1:24-cv-00355

   v.                                                        Judge Virginia M. Kendall

   THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Jeffrey T. Gilbert
   ASSOCIATIONS IDENTIFIED ON SCHEDULE
   “A”,

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

             NO.                                     DEFENDANTS
               6                                          Caikeny
               10                                      Midnight-Inc
               12                                      Tontut Direct
               18                                      Ralkin Shop
               20                                       rainyRainy
               21                                      LoveTaoTao
               36                                       GodlyBible
               48                                      BOLUOBAO
               49                                         Basysin
               53                                     LOVELY POD
               54                                        Prospitti
               65                                        CRFDYY
               69                                        SHINMO
               75                                     Marcel Yiaminss
               89                                     Passdone Direct
               90                                         Linkjay
               92                                      DLZDN US
               96                                          apasin
              104                                     LazyFold Direct
   Case: 1:24-cv-00355 Document #: 35 Filed: 03/08/24 Page 2 of 3 PageID #:1357


          108                                  chenjind168
          109                                     AISSO
          113                                     syiboo
          127                               Gifts Everywhere
          129                                  Mawazo 42
          145                             Bextsrack Houseware
          147                               BigLeopard Shop
          148                                yingchuanjinshu
          158                             YUNHONG TOWLE
          159                           Ruifeng Industry and Trade


DATED: March 8, 2024                        Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone:312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-00355 Document #: 35 Filed: 03/08/24 Page 3 of 3 PageID #:1358


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 8, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
